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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   UNITED STATES OF AMERICA


           v.                                                        CRIMINAL ACTION
                                                                         No. 19-64

   JOHN DOUGHERTY and ROBERT HENON,




                                            ORDER

       AND NOW, 20th day of January, 2022, it is hereby ORDERED that the Government shall

file a surreply to defendant John Dougherty’s Reply in Support of his Motion for Acquittal, or

alternatively, Motion for New Trial by January 27, 2022, if the Government deems it necessary

to file a surreply, and if the Government intends to not file a surreply they shall notify the Court

accordingly.


                                                     BY THE COURT:

                                                     /s/ Jeffrey L. Schmehl
                                                     Jeffrey L. Schmehl, J.
